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                           Exhibit D
                                                                                 ⚡⚡ Thunderdome ⚡⚡     #events
                                                                                 #florida              Azzmador#6970 2017-07-28
                                                                                 #General
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                                                                                                       I just got done with an hours long chat with some of the event organizers and I feel better about the
                                                                                 #hax                  thing. The plan is the same, gas the kikes, pr war now, plenty of trolling and lulz.
                                                                                 #hydra
                                                                                 #Hydra
                                                                                 #meme_academy
                                                                                 #norcal               Azzmador#6970 2017-07-28
                                                                                 #pdx                  All you mfers better come see me or I will come to your homes and harass you constantly.
                                                                                 #public                   4 � 4 �� 4
                                                                                 #AFK
                                                                                 #avclub
                                                                                 #backoffice           (H) Sterie Ciumetti#9878 2017-07-28
                                                                                 #bookclub             @Azzmador#6970 Glad to hear it, you sounded blackpilled before
                                                                                 #computermachinists
                                                                                 #discord-mods
                                                                                 #Editorial Team
                                                                                 #events
                                                                                                       Mack Albion#4383 2017-07-28
                                                                                 #ds-es                I’m difficult to miss brother.
                                                                                 #gaming
                                                                                 #rules
                                                                                 #sc                   Azzmador#6970 2017-07-28
                                                                                 #troll_army
                                                                                                       @(H) Sterie Ciumetti#9878 I am sometimes unruly, it comes with the territory when you deal with me.
                                  17378




                                                                                 #Troll_army
                                                                                 #vidya
                                                                                                       Azzmador#6970 2017-07-28
                                                                                                       but generally I get it right in time.
